
40 Cal. 2d 178 (1953)
DOROTHEA COLE et al., Appellants,
v.
PAUL RUSH et al., Defendants; FRANK VAN STONE, Respondent.
L. A. No. 22358. 
Supreme Court of California. In Bank.  
Jan. 20, 1953.
 John C. Stevenson and Lionel Richman for Appellants.
 Parker, Stanbury, Reese &amp; McGee and A. P. G. Steffes for Respondent.
 THE COURT.
 [1] This is an appeal from an order sustaining a demurrer without leave to amend. Such an order is nonappealable (Evans v. Dabney (1951), 37 Cal. 2d 758, 759 [235 P.2d 604], and authorities there cited; 3 Cal.Jur.2d 476), and this court must, therefore, dismiss the appeal of its own motion. (Collins v. Corse (1936), 8 Cal. 2d 123, 124 [64 P.2d 137]; Estate of Brady (1948), 32 Cal. 2d 478, 480 [196 P.2d 881]; Rosenberg v. Knesboro (1947), 80 Cal. App. 2d 36, 38 [180 P.2d 750]; see, also, 4 Cal.Jur.2d 337, and cases there cited.)
 The appeal is, therefore, dismissed.
